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   ln Re R equestfrom V enezuela Pursuantto the Treaty              U ND ER SE AT,
   Betw een the Governm entofthe U nited States ofAm erica
   and the Governm entofthe Republic ofv enezuela on
   M utualLegalA ssistance in Crim inalM attersin the
   M atterofJuan Jose Rendon


                                       M O 'rlO N TO SEAL


          N O W CO M ES the U nited States ofA m erica,by and through the undersigned A ssistant

   U nited StatesA ttorney,and respectfully requeststhatthe Application,M em orandum ofLaw ,and

   any resulting Order be sealed,and in suppol'tthereofstatesthe following:

          The Em bassy of the Bolivarian Republic of V enezuela, Sixty-Fourth Public Prosecutor

   w ith N ationw ide Jurisdiction over D efense of W om en,has requested that this m atter be kept

   confidential. Thiscaseinvolvesan ongoing crim inalinvestigation.D isclosure ofthism attercould

   jeopardize the investigation,and therefore,the United States requeststhatthe Application,
   accom panying M em orandum ofLaw and the Court's OrderAppointing a Com m issionerbe filed

   underseal.

          The United States requests that it be perm itted to disclose the Court's sealed Order

   A ppointing a Com m issioner,w ithoutseeking an additionalunsealing order,to representatives of

   the Em bassy of the Bolivarian Republic of V enezuela, Sixty-Fourth Public Prosecutor w ith

   N ationw ide Jurisdiction overD efense ofW om en,1aw enforcem entagencies,and forany purpose

   necessarytoexecute,coordinate,and/oreffectuatethetreatyrequest,includingdisclosingtheorder
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   to any subpoena recipientsto obtain theirtestim ony and/ordocum entproduction.


                                             Respectfully subm itted,

                                             W IFREDO A .FERR ER
                                             U N ITED STATES A TTO RN EY


                                                        *                   *
                                      By:
                                             Brian N .Dobbins
                                             A ssistantU nited StatesA ttorney
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